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Forensic Science Regulator |

Guidance

The Use of ‘Excited Delirium’ as a Cause of Death
FSR-G-231

Issue 2
Forensic Science Regulator

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Purpose

The Forensic Science Regulator (the Regulator) became aware of concerns,
raised.outside this jurisdiction, about the use, and potential misuse, of ‘excited
delirium’.as a cause of death. Advice was therefore sought from the Forensic
Pathology Specialist Group (FPSG) and the Forensic Pathology Speciality
Advisory Committee (SAC) of the Royal College of Pathologists.

It is clear that the term ‘excited delirium’ has relatively rarely been used as a
sole cause of death in this jurisdiction but it appears that it has occurred.

This document sets out the guidance from the FPSG and SAC on the use of the
term.

After the consideration of this issue was underway it became clear that the
Independent Review of Deaths and Serious Incidents in Police Custody chaired
by Rt. Hon Dame Elish Angiolini DBE QC might address concerns about this
issue. The report published by the Review [1] did address this issue and made

the following recommendation.

“Excited Delirium’ should never be used as a term that, by itself, can be identified as the cause
of death. The use of Excited Delirium as a term in guidance to police officers should also be

avoided.”

Scope

This guidance has been issued to support the Code of Practice and
Performance Standards for Forensic Pathology [2] and applies to forensic

pathologists in England Wales and Northern Ireland.

Implementation

Issue 2.0 of this document became effective on 31 October 2020.

Modification ©

This is the second issue of this document. Changes to the previous version are

not marked.

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4.1.3 The Regulator uses an identification system for all documents. In the normal

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document (e.g. a version in a different language). In such cases the modified
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taken as the definitive version of the document. In the event of any discrepancy
between the normal version and a modified version the text of the normal

version shall prevail.

5. Guidance

5.1.1 The use of the term ‘Excited Delirium’ as a sole cause of death should not be

used.

5.1.2 The term has caused controversy, particularly in North America, where it has
been applied in some cases where other important pathological mechanisms,
such as positional asphyxia and trauma may have been more appropriate
descriptions. It is recognised that the physiological condition characterised by
physical agitation and altered mental state commonly brings individuals into
contact with police and other emergency personnel, and is an acutely life .
threatening one. This condition which is usually drug induced needs to be

recognised and treated.

5.1.3 Formulating the cause of death in these circumstances can be difficult. The
Regulator and the Royal College of Pathologists advise pathologists to consider

an approach where the central cause of the fatal clinical condition is offered as

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an immediate cause of death and, where appropriate, used in conjunction with a
term capturing the altered physiological and psychological state. Examples
could include “amphetamine intoxication with acute behavioural disturbance” or
“cocaine cardio-toxicity and. psychosis”.

Discussion of Excited Delirium may better be covered within the commentary

section of the post mortem report.

Acknowledgement
The College and the Regulator would like to acknowledge the assistance of the
following in the production of this guidance.

a. The Specialty Advisory Committee on Forensic Pathology of the Royal
College of Pathologists.
b. The Forensic Pathology Specialist Group, and

C. The British Association in Forensic Medicine.

Review

This document is subject to review at regular intervals.

If you have any comments please send them to the address or e-mail set out on

the Internet at URL: www.gov.uk/government/organisations/forensic-science-

requlator

References

1 Report of the Independent Review of Deaths and Serious Incidents in

Police Custody; Rt. Hon Dame Elish Angiolini DBE QC.

2 Code of Practice and Performance Standards for Forensic Pathology;
Forensic Science Regulator, College of Pathologists, Home Office-and

Department of Justice Northern Ireland.

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9, Abbreviations And Acronyms
Text Meaning
DBE Dame of the British Empire
FPSG Forensic Pathology Specialist Group
QC Queen’s Counsel
SAC Speciality Advisory Committee
URL Uniform Resource Locator

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